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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
AUGUST DEKKER, et al.,
Plaintiffs,
Vv. No.

SIMONE MARSTILLER, et al.,

Defendants.

 

 

DECLARATION OF JADE LADUE

I, Jade Ladue, hereby declare and state as follows:

1. I am over the age of 18, of sound mind, and in all respects competent to testify. I
have personal knowledge of the information contained in this Declaration and would testify
completely to those facts if called to do so.

2. I, along with my husband, Joshua Ladue, am next friend of our minor child, K.F.,
who is a Plaintiff in this action.

3. I am a Florida resident. I live in Sarasota County with Joshua, our son K.F., who
is 12 years old (almost 13), and our four other children who range in age from five to sixteen
years old.

4.’ Joshua receives Social Security Disability Insurance because he is diagnosed with
venous malformation, a type of vascular malformation that results from the veins in his leg
having developed abnormally. Legally, Joshua is K.F.’s stepfather and has raised K.F. since he
was three years old. K.F. considers and calls Joshua “dad.”

s: I am employed as a patient coordinator at a dental office.
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6. Our family moved to Florida from Massachusetts in August 2020.
7. Our son, K.F., is transgender.
8. Because of K.F.’s age and our family income, he is eligible for Medicaid and

enrolled in Humana’s Florida Medicaid managed care plan. He has been eligible for and enrolled
in the program since we moved to Florida. Prior to our move, he was enrolled in Massachusetts’
Medicaid program.

9. Although K.F. was assigned female at birth, he has known he was a boy from a
very young age. When he was 7 years old, he came out to his grandparents during a camping trip,
telling them that he has known since he was four years old that he is a boy and would one day be
a father. In looking back on K.F.’s childhood, Joshua and I can both see that K.F. was showing us
that he was a boy well before that conversation he had with his grandparents; he has always wanted
to wear traditional boy clothes (no dresses or skirts), he insisted on his hair being kept short, and
he loved to play shirtless with other boys in our neighborhood.

10. K.F. has never wavered about his gender identity. As his mother, it is clear to me
that he has known his whole life what gender he is. Joshua and I marvel at K.F.’s self-confidence
and self-assurance; he continues to develop as an intelligent, well-grounded, and mature young
man. We are so proud of the person he is becoming.

ll. After the camping trip, Joshua and I were a bit overwhelmed, like many parents
upon first learning that their child is transgender. But we love our children for exactly who they
are, so we adjusted quickly. We were fortunate to also have an extremely supportive extended
family who have always been allies of the LGBTQ+ community.

12. As with all of our children before their pre-teen years, we established strict

limitations on K.F.’s consumption of television, movies, videos, and video games. His internet
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access was supervised by myself or my husband, and he had no access to social media until just
two years ago, when he received his first cell phone. At the age of seven, when K.F. came out as
transgender, he had never heard of the concept of gender dysphoria, or transgender people,
beyond his own experience, which he described first to his grandparents, and then to us, as
simply “being a boy.”

13. After K.F. confided in us, I decided the next best step would be to locate a therapist
who specializes in gender dysphoria. Within a week, K.F. had his first appointment with Eileen
Casella Rider, a Licensed Mental Health Counselor. | remember being impressed by her
thoroughness during that first appointment. We returned bi-weekly for appointments. After
thorough evaluation, she was the first to diagnose K.F. with gender dysphoria. I really appreciated
Eileen’s knowledge and support; she made sure we understood K.F.’s diagnosis and walked us
carefully through what we should expect as K.F. got older.

14. At Eileen’s recommendation, I later joined the local PFLAG group, an organization
which is dedicated to supporting, educating, and advocating for LGBTQ+ people and their
tamilies. | joined the group because it was important to me and my husband that we demonstrate
to K.F. our commitment to supporting him.

15. K.P. was living in accordance with his male gender identity in every aspect of his
life, and he wanted to be treated accordingly at school. Just before K.F. entered the second grade,
Eileen helped facilitate a meeting between me and his school administrators, school nurse, and
teachers to talk about K.F.’s gender identity and what actions the school should take to ensure he
was fully affirmed and supported as a boy with his classmates in the school environment.

16. Our next step was to establish with a pediatric endocrinologist. I setup an

appointment for K.F. to establish care with the Gender Multispecialty Service (GeMS) Program at
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Boston Children’s Hospital, the first pediatric and adolescent transgender health program in the
United States. K.F. had his first appointment with the GeMS Program on September 13, 2015.
That first appointment was incredibly thorough, lasting over two hours, and was overall a very
happy occasion. It was clear K.F. would be receiving the best possible care and the team of
providers confirmed everything that Eileen told us: that K.F. is a transgender boy and that his
parents and extended family supporting him in his affirmation of his male gender identity was the
best possible decision for his health and well-being. GeMS started him with pediatric nurse
practitioner, Sarah Pilcher. Pilcher’s role was to monitor K.F.’s hormone levels for the onset of
puberty and assist with any future gender-affirming healthcare needs. We continued K.F.’s care
with GeMS until we moved to Florida in August 2020.

17. Before we moved, in June 2020, Pilcher determined that based on the onset of

X.F.’s puberty, it was medically necessary for K.F. to receive his first puberty delaying medication.
the recommendation of Pilcher, K.F. received the SUPPRELIN implant medication which

would prevent the onset of secondary sex characteristics typical of girls and women. K.F. received

the implant on August 8, 2020. and it was fully covered by Massachusetts’ Medicaid program.

18. According to Pilcher and K.F.’s current medical providers, it is medically necessary
for K.F. to receive SUPPRELIN so that K.F. can live authentically in a manner consistent with his
vender identity and to treat his gender dysphoria. By preventing the physical manifestations that

vould accompany the puberty of his séx assigned at birth, K.F. is also able to avoid negative social
nd emotional consequences associated with his being forced to develop secondary sex
characteristics that do not align with his male gender identity. As his parent, it is also important

to me that K.P. be able to choose with whom to disclose this deeply personal, private information
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about himself. Because of the puberty delaying medication, he has that option, and the inherent
protection and privacy that it provides.

19. | When we decided to move to Florida, I researched programs in the state that offered
the same or similar level of care afforded by GeMS. Finding a program that offers high quality
gender-affirming care and that accepts Medicaid can be challenging. Fortunately, through that
research, I found the Emerge Gender & Sexuality Clinic for Children, Adolescents and Young
Adults based at Johns Hopkins All Children’s Hospital (Johns Hopkins Gender Clinic) located in
St. Petersburg, Florida.

20. Once we moved, K.F. initiated care with Dr. Kevin Lewis, a doctoral-level pediatric
nurse practitioner specializing in endocrinology at the Johns Hopkins Gander Clinic. On April 6,
2022, K.F. received his second SUPPRELIN implant which was fully covered by his Florida
Medicaid plan, Humana.

21, K.F. typically visits the Johns Hopkins Gender Clinic every six months. Recently,
however, K.F. has had more frequent visits because Dr. Lewis is monitoring whether K.F.’s second
SUPPRELIN implant is adequately suppressing puberty. Unfortunately, Dr. Lewis has indicated
that K.F."s bloodwork is showing elevated estrogen and Luteinizing Hormone (LH) levels.

‘ltimately. K.F. may need a different type of puberty delaying medication to suppress puberty and
successfully continue his medical transition. K.F. has another appointment scheduled at the end of
Yetober 2022 to check in with Dr. LeWis. Additionally, K.F. is in the coming months to recheck
ihe implant’s efficacy. If Dr. Lewis determines that the SUPPRELIN is not adequately suppressing
yuberty. then K.F. will likely need to switch to another puberty delaying medication that will need

yxximately every three months.
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22. When having conversations with us and Dr. Lewis about suppressing puberty, K.F.
is adamant that he does not want breasts and would eventually like to have facial hair and muscles.
The idea of developing typically female secondary sex characteristics makes K.F. extremely
anxious: he prays that his puberty delaying medication will be successful. Since K.F. came to
understand and express the dysphoria he experienced resulting from his sex assigned at birth at an
early age. we were able to get him the mental health and medical treatment that was necessary,
and as a result K.F. is accepted by other people as male and very few people know he is
iransgender. Developing secondary sex characteristics typically associated with girls and women,
instead of those aligned with his male gender identity, would be tremendously emotionally and
physically painful for K.F.

23. In the event K.F."s current implant is not effective, and because Florida Medicaid

excludes coverage of puberty delaying medication, we would have to pay out of pocket for
‘he other puberty delaying shots. Those shots would cost $3000-$3600 per shot out of pocket. Our
‘umily has limited income, and we are very worried because we would not be able to afford these

ireatments without Medicaid coverage.

24. K.F.°s medical providers have also told us that likely within the next year, when

..F. is fourteen years-old, that it will be medically indicated for him to begin cross-sex hormone

herapy (testosterone) at a dose appropriate to his age and body composition. K.F. is very excited
oul Starting testosterone therapy. K.F. usually hates receiving shots but he told me he would be

py to take a monthly shot if it meant that he would experience the male puberty that is aligned

his gender identity, such as his voice deepening and growing facial hair.

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\vc are so grateful that K.F. was confident enough and felt safe to come out to us

ich 2 young age. Identifying his gender dysphoria at a young age, combined with a loving and
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supportive immediate and extended family means that we were able to ensure that K.F. received
the health care appropriate for him as soon as possible. As a result, his gender dysphoria has been
well managed. While K.F. has always dealt with some level of anxiety, before he came out to us
as transgender, it was much worse. He experienced what I would describe as “night terrors” and
had a persistent stomachache. We would get calls from his school that he was not doing well and
was often in the nurse’s office. We went to doctors to determine the source of his distress, but no
one could identity what was causing the problem. After he had firmly established gender-affirming
care with GeMS, he became a completely different child; it was like night and day. He had a smile
m his face. a light in his eye, and even a glow about him. His performance and attendance in
school improved, as did his peer relationships. Like any parent, Joshua and I were relieved to see
our child happy and thriving.
26. KF. has also begun the process of legal transition. He has legally changed his name
and we are currently in the process of having his gender marker changed on his birth certificate
and records with the Social Security Administration. His school has been great; they have ensured

ecords identify his new legal name and otherwise ensure he is treated the same as any other

| understand that due to a new state regulation adopted by the Florida Agency for
Health Care Administration (*AHCA”), beginning on August 21, 2022, Florida Medicaid will no
longer provide coverage for medical freatments for gender dysphoria. I understand this to mean
Vledicaid will no longer cover puberty delaying medications for K.F. as treatment for his
ywender dysphoria. AHCA’s regulation will also prohibit Medicaid from covering hormone therapy
. medically necessary treatment for K.F.’s gender dysphoria when K.F., pursuant to the medical

expertise and recommendations of his physicians, is ready to begin that treatment.
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28. | am incredibly worried about the potential physical and mental health
consequences of depriving K.P. the medically necessary treatment recommended by his health
care providers. K.F. has been living as a boy in every aspect of his life, medically, legally, and
socially, since 2017. If he were no longer able to access the medication that aligns his body with
his gender identity, his mental health would suffer tremendously; he would be devastated. He, and
ihe whole family with him, would go down a dark and scary road fast. Most likely, he would not
leave his bedroom and he would refuse to go to school. He would cut off his communications with
his friends, teammates, and teachers. Given how much his gender-affirming care has improved his
life and mental health, Joshua and I can only assume that reversing that course of treatment would
result in the unthinkable happening.

29. Because of these concerns, K.F. going without treatment is simply not an option.
We believe providing K.F. with the medical treatment for gender dysphoria that he requires is
fecessary to ensure his health and well-being. I do not believe that there is any way we could
ceprive K.F. of the necessary, medically recommended health care that he requires.

U. Weare under 138% of the federal poverty limit; that is why our children, including
..©.. qualify for Florida's Medicaid program. Whether it be paying for a different puberty delaying
ication I K.F."s provider determines the SUPPRELIN is not working or beginning K.F.’s
course of hormone therapy in the next year, we simply do not have sufficient resources to provide
*, the gender affirming care he requires. We could not pay out of pocket for the cost of K.F.’s
rare, even if we sacrificed everything.
3 Joshua receives his health insurance through Medicare. He cannot add K.F. to his
nealth insurance. | have access to health care coverage for family members because of my job,

ut the cost of adding K.F. is unaffordable for our family.
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32.  Floridais our home. We are part of a community, comprised of family and friends
ihat have been supportive and affirming of K.F. I worry not only about the multitude of harms
caused to my own family through AHCA’s new regulation, but also about the effect that the
discriminatory actions by AHCA and the current state government will have on other transgender
people and their families. We know families that cannot afford to pay out of pocket, nor do they
have any other options by which they could obtain healthcare coverage, if their transgender child
loses access to the medically necessary, physician recommended treatment.

33. Ultimately, if we need to protect our son’s access to medication that is necessary
ior his health and well-being then we will move out of Florida. We do not wish to move if it can
oe avoided, as, among other things, it would mean I would have to find 2 new job, Joshua would
have to establish his Social Security payment through a new field office, and our kids would be
uprooted and forced to start at new schools and make new friends. We are Christian and just joined
1 church that we attend every Sunday. So far. we have felt very welcome and would be sad to
break a tie with this faith community and the other communities and relationships we have
established here in South Florida.

Por K.F., this would be a particularly difficult and painful transition. K.F. is doing

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el. academicalls, socially. and athletically. He is on the golf team at his school and he is looking
ard lo upcoming tryouts out for the baseball team in our town. It is awful to even think that
i. F. would have to end this participation and leave his teammates because Florida refuses to
ide him the medical treatment that he needs to live and thrive, medical treatment that is

available to many other cisgender young people, simply because he is transgender.

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The state’s decision to stop covering medically necessary gender-affirming

mecical care through Medicaid is tragic. It is also dehumanizing. We are concerned about the
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message the State of Florida is sending by excluding transgender people from Medicaid coverage
) which they otherwise would be entitled simply because they are transgender.

36. The actions by AHCA and Florida’s state government threaten the health and
well-being of transgender Medicaid beneficiaries, like my son, K.F. K.F. did not choose this nor
did anyone else for whom this treatment is medically necessary. It is who he is; it is who they
are. Thus, we are challenging the new state regulation promulgated by AHCA to help not only
k.F.. but also the many other transgender Medicaid beneficiaries who will be harmed.

! declare under penalty of perjury that the foregoing is true and correct. Executed this

__ day of September 2022.

 

Jade Ladue

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